                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA


     UNITED STATES OF AMERICA ex rel.
     ELLSWORTH ASSOCIATES, LLP,

                          Plaintiff-Relator,             Case No.: 2:19-cv-02553-JMY

           v.

     CVS HEALTH CORPORATION, et al.,

                          Defendants.


    RELATOR’S MEMORANDUM IN OPPOSITION TO DEFENDANTS’ MOTION TO
       AMEND THE COURT’S ORDER UNSEALING THE SECOND AMENDED
     COMPLAINT AND IN SUPPORT OF RELATOR’S CROSS MOTION THAT THE
                   COURT SET A RULE 16 CONFERENCE

       Relator filed its original Complaint under seal on June 12, 2019. While this matter

remained under seal, Relator twice amended its complaint, ultimately filing the operative Second

Amended Complaint (“SAC”) on March 28, 2022. Prior to filing the SAC, Relator redacted certain

protected health information (“PHI”), pursuant to the Health Insurance Portability and

Accountability Act of 1996 (“HIPAA”) and its implementing regulations. 1 On May 6, 2022, the

Court ordered that the SAC be unsealed and that Relator serve the SAC upon Defendants. ECF

21. Relator did so.




1
  In accordance with CMS guidance, Relator redacted from the SAC identifying information of
certain SilverScript beneficiaries, including their names, addresses, telephone numbers, email
addresses, social security numbers, health plan beneficiary numbers, pharmacy name and
identifier, and prescription number. See U.S. Dep’t of Health & Human Servs., Guidance
Regarding Methods for De-identification of Protected Health Information in Accordance with the
Health Insurance Portability and Accountability Act (HIPAA) Privacy Rule,
https://www.hhs.gov/hipaa/for-professionals/privacy/special-topics/de-identification/index.html
(last visited Oct 19, 2022).


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       Defendants move the Court to amend its unsealing Order and require Relator to produce

an unfiled, unredacted draft of the SAC. Relator opposes the motion.

                                        BACKGROUND

       On September 28, 2022, more than two months after they had filed a 56-page Motion to

Dismiss, Defendants sent Relator’s counsel a draft of the motion at issue, stating it was their

intention to ask the Court to amend the sealing Order unless Relator agreed to immediately provide

them a copy of the SAC without any redactions. On October 4, 2022, Relator’s counsel responded

by stating that sharing the unfiled, unredacted SAC at this time would give Defendants an unfair

head start on discovery, and countered Defendants’ demand with two alternative proposals: (a)

that Relator would provide an unredacted copy of the SAC along with all documents she or her

counsel had in their possession concerning the allegations in exchange for the parties jointly

requesting a Rule 16 conference and jointly initiating discovery, or (b) that Relator would provide

an unredacted copy of the SAC conditioned on Defendants’ agreement not to use it as part of their

Motion to Dismiss briefing. Relator’s counsel also explained that, if Defendants rejected these

proposals and chose to file their motion, Relator would cross-move for the Court to set a Rule 16

conference and initiate discovery. That day, Defendants’ counsel rejected the first proposal, but

indicated that they wanted to discuss the second proposal with their client. The following day, on

October 5, 2022, Defendants’ counsel rejected the second proposal, as well. Thereafter, on

October 6, 2022, Relator’s counsel notified Defendants’ counsel that, because they had rejected

the suggestions for what Relator’s counsel believed were reasonable compromises for access to

the early discovery Defendants sought, Defendants should file their motion. Relator’s counsel also

reiterated that Relator intended to cross-move for the Court to set a Rule 16 conference and initiate

discovery.




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       In support of their motion, Defendants adopt a peculiar reading of the Court’s May 6 Order.

Rather than directing Relator to serve the as-filed SAC—as the Order states—Defendants assert

that the Court actually directed Relator to serve an entirely different document: a draft of the

unredacted SAC that was never filed.        Thus, according to Defendants, Relator “is out of

compliance” with the Court’s unsealing Order, even though Relator served the SAC as directed.

Defs.’ Mem. (ECF 40-1) (“Mem.”) at 1.

       Defendants raise two meritless arguments. First, Defendants claim (Mem. at 1) that the

never-filed, unredacted SAC is a “judicial record that is presumptively accessible to Defendants.” 2

But a document that was never filed on the docket is not a judicial record, and Relator fully

complied with the Court’s unsealing Order by serving the SAC exactly as it was filed with the

Court. Second, Defendants argue (Mem. at 3-4) that it is “unclear” whether Relator disseminated

information in violation of HIPAA, and Defendants “may have” an obligation to notify

SilverScript enrollees about disclosures of PHI. These equivocal assertions—i.e., that Defendants

do not know whether Relator did anything wrong and do not know what they should do about it—

fail to articulate any basis for relief. Likewise, their HIPAA argument is belied by the fact that

Defendants rejected Relator’s offer to share the unredacted SAC.




2
 Even though they do not raise it as a separate ground for their motion, Defendants also suggest
that they need the never-filed, unredacted SAC “to complete their investigation of Relator’s
allegations, and possibly to complete the briefing on their motion to dismiss.” Mem. at 2. This
argument rings hollow. If Defendants had a well-founded need to obtain a copy of the never-filed,
unredacted SAC for the purpose of moving to dismiss the SAC, they would not have waited to
bring this to the Court’s attention until over two months after filing their Motion to Dismiss. The
fact that National Provider Identifiers (“NPIs”) were redacted from the SAC has been known to
Defendants since the SAC was served on May 23, 2022. Given that they were able to file a 56-
page Motion to Dismiss, Defendants evidently have had no difficulty mustering a defense in this
matter.


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           Ultimately, Defendants seek to unilaterally and improperly benefit from one-sided

discovery without incurring any discovery obligations themselves. However, Relator is cognizant

of the Court’s expectation that the parties will “conduct substantial discovery before the Rule 16

conference.” Therefore, if the Court grants Defendants’ motion, Relator separately cross-moves

the Court to schedule the Rule 16 Conference and order that the discovery process begin for both

parties.

                                            ARGUMENT

           A.     Relator fully complied with the Court’s unsealing Order.

           Defendants falsely contend (Mem. at 1) that Relator has not “serv[ed] its own pleading.”

To the contrary, Relator has served the SAC on Defendants exactly as it was filed with the Court.

What Defendants actually want is a separate document that was never filed on the docket. The

Court’s May 6 Order directed Relator to serve on Defendants the SAC, the United States’ notices

of election to decline intervention, and the unsealing Order itself. Relator complied with this Order

by serving these documents on Defendants on May 23, 2022. The Order did not direct Relator to

serve the never-filed, unredacted SAC Defendants now seek.

           In tacit acknowledgement that their position is ungrounded in the text of the Court’s

unsealing Order, 3 Defendants altogether omit that text from their motion. Instead, Defendants rely

almost exclusively on Purcell v. Gilead Sciences, Inc., 415 F. Supp. 3d 569 (E.D. Pa. 2019), for

the proposition that they are entitled to “judicial records.” However, Purcell is unavailing for two

reasons. First, Purcell addressed whether a pleading may be kept under seal, an entirely separate

question from whether Defendants are entitled to versions of the complaint that have never been



3
  Tellingly, even though they contend Relator is “out of compliance” with the Order (Mem. at 1),
Defendants request that the Court amend its unsealing Order, not enforce the Order it already
issued.


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filed. Second, the document Defendants seek—i.e., the never-filed, unredacted SAC—is not itself

a judicial record.

        In Purcell, the relators filed three iterations of the complaint under seal. Purcell, 415 F.

Supp. 3d at 572. The original complaint had named only a single corporate defendant. Id. The

first amended complaint then added seventeen individual doctors as defendants. Id. After a change

of counsel, the relators apparently “reconsidered a good faith basis” to name the individual doctors

as defendants, id. at 577, and filed a second amended complaint dropping their claims against the

doctors, id. at 572. After the government declined to intervene in the case, the court ordered that

the second amended complaint be unsealed, which the relators did not oppose. Id. at 572.

However, the relators sought to keep the first amended complaint under seal to protect the identities

of the seventeen defendants who had been removed from the case. Id. at 572-73. The court held

that the first amended complaint should be unsealed, but because the court was “concerned with

publicly revealing the names of” the nonparty doctors, permitted the relators to redact the names

of the doctors before the complaint was unsealed and served upon the defendant. Id. at 577.

        Purcell, therefore, addressed the entirely separate question of whether a pleading that has

been filed with the court may still be kept under seal. By contrast, here the document Defendants

seek has not been filed under seal; it has never been filed at all. Because the unfiled SAC

Defendants seek has neither been “filed with the court” nor “incorporated or integrated into” the

Court’s “adjudicatory proceedings,” it is not a judicial record to which a presumptive right of

access applies. See In re Avandia Mktg., Sales Pracs. & Prod. Liab. Litig., 924 F.3d 662, 672 (3d

Cir. 2019); see also Bond v. Utreras, 585 F.3d 1061, 1073 (7th Cir. 2009) (judicial records do not

include discovery documents “not filed with the court”). Moreover, even though the court in

Purcell ordered the complaint to be unsealed, it still permitted the relators to redact certain




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information before the complaint was made public and served on the defendant. If anything, then,

Purcell contradicts Defendants’ argument that they have an unfettered right to an unfiled draft of

the SAC.

       Fundamentally, Defendants’ judicial records argument proves too much. If the unredacted,

never-filed SAC were a judicial record, Defendants should seek to have it filed on the open court

docket to ensure public access. F.T.C. v. AbbVie Prods. LLC, 713 F.3d 54, 62 (11th Cir. 2013)

(“The common-law right of access ‘establish[es] a general presumption that criminal and civil

actions should be conducted publicly . . . .’” (quoting Chi. Trib. Co. v. Bridgestone/Firestone,

Inc., 263 F.3d 1304, 1311 (11th Cir. 2001))); see also Littlejohn v. BIC Corp., 851 F.2d 673, 678

(3d Cir. 1988) (“Access means more than the ability to attend open court proceedings; it also

encompasses the right of the public to inspect and to copy judicial records.”). Defendants,

however, are not seeking public access to the unredacted SAC. Instead, Defendants believe “that

enrollee privacy should be protected on the public docket” (Mem. at 3), and insist the Court should

order the never-filed, unredacted SAC be disclosed not on the docket, but only to them (id. at 4).

It thus is clear that Defendants are not seeking access to judicial records at all, but instead are

requesting the Court order Relator to provide document discovery as required under Fed. R. Civ.

P. 26(a)(1) (initial disclosures). But, under Rule 26(a)(1)(C), discovery is not to begin until “at or

within 14 days after the parties’ Rule 26(f) conference unless a different time is set by stipulation

or court order.” The Court has not yet ordered that the parties hold a Rule 26(f) conference or set

a different time for the parties to present their discovery plan.

       B.      Defendants’ ill-formed HIPAA concerns are not a basis for relief.

       Defendants’ amorphous HIPPA concerns do not entitle them to the never-filed, unredacted

SAC. Defendants do not assert that in fact any HIPAA violations have taken place or that they

actually have any notification obligations. Rather, Defendants suggest only that “[i]t is a potential


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improper disclosure if an alleged whistleblower discloses PHI to other persons not identified in

[45 C.F.R.] §164.502(j),” “[i]t is unclear to Defendants whether 45 C.F.R. § 164.502(j) applies in

connection with” Relator’s alleged disclosure of PHI, and Defendants “may have an[] obligation”

to notify SilverScript enrollees as to the disclosure of PHI. Mem. at 3-4 (emphasis added). Yet

redacting PHI from the SAC is exactly what Relator was supposed to do to comply with HIPAA,

and Defendants have failed to articulate how any other HIPAA violation has occurred.

Furthermore, Defendants have failed to articulate how getting access to the unredacted SAC is

necessary for them to determine if any HIPAA violations have occurred.             Unsurprisingly,

Defendants have failed to provide any legal basis under which their equivocation entitles them to

the extraordinary remedy of unilateral discovery—let alone whether an actual, articulable HIPAA

violation would justify their request.

       This is not the first time Defendants have accused Relator of unsubstantiated legal

violations. On June 16, 2022, counsel for Defendants sent Relator’s counsel a “Demand for Return

of Property,” baselessly arguing that Relator’s retention of certain documents in an effort to abate

Defendants’ fraud constituted a violation of her employment agreement and “conversion of

company property.” Demand Letter (June 16, 2022), Exhibit A. Relator’s counsel explained that

“because Ms. Miller retained only a small subset of documents from CVS necessary to pursue a

qui tam lawsuit, her actions are protected by federal law.” See Response to Defendants’ Counsel

Demand Letter (June 20, 2022), Exhibit B.

       On August 2, 2022, Defendants’ counsel again accused Relator of impropriety, informing

Relator’s counsel that Relator improperly shared HIPAA confidential information with rev.com, a

vendor used to transcribe audio recordings. On August 16, 2022, Relator’s counsel provided an

opinion of outside counsel that neither Relator nor her counsel were required to have entered into




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a Business Associate Agreement with the vendor rev.com, and that rev.com had provided adequate

assurances of the “technical, administrative, and physical safeguards required to protect the

confidentiality, integrity, and availability of the data.” See Opinion of HIPAA Counsel (August

15, 2022), Exhibit C. As such, there had been no violation of HIPAA.

       Now again, Defendants are attempting to use the guise of inchoate HIPAA concerns to get

an improper head start on discovery.           Defendants say nothing concerning their prior,

unsubstantiated attempts to do so, and suggest, almost entirely without argument, that HIPAA and

its implementing regulations require Relator to unilaterally provide discovery material. They do

not.

       Additionally, Defendants’ suggestion that Relator may have taken information from CVS

without meeting a legal exception is simply unfounded. Pursuant to the HIPAA Privacy Rule, a

covered entity is not considered to have violated HIPAA if one of its employees discloses PHI to

an attorney based on a good-faith belief that the entity has engaged in unlawful conduct. 45 C.F.R.

§ 164.502(j)(1). Nor is such a disclosure considered a “breach” that would require Defendants to

notify their beneficiaries. See id. §§ 164.404(a)(1) (requiring notification “following the discovery

of a breach” of PHI), 164.402(1)(i) (breach does not include protected disclosure under § 164.502).

       Although they couch their request as fulfilling a notification obligation under HIPAA,

Defendants’ real motive is apparent. Had they actually been motivated to ensure they were

providing required HIPAA notice, Defendants would have agreed to Relator’s proposal that it

would share the unredacted SAC (under the condition that the unredacted SAC would not be used

in Defendants’ Motion to Dismiss briefing). But they rejected this proposal, making clear that

Defendants are seeking one-sided discovery which they intend to use in their Motion to Dismiss

briefing—and, perhaps, to bring unfounded, retaliatory litigation regarding Relator’s retention of




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company documents. Moreover, if Defendants required the information they desire to adequately

respond to the SAC, Defendants would have sought this discovery material as soon as they were

served with the as-filed SAC, not two months after filing their Motion to Dismiss.

       C.      If the Court grants Defendants’ motion, it should enter an order for a Rule
               16 Conference.

       Defendants have requested that the Court order Relator to produce discovery material in

the form of a document that has not been filed on the docket. It would be fundamentally unfair to

impose discovery obligations on only one party. If Relator is ordered to produce the unredacted

SAC, because the unredacted SAC would be subject to the rules of bilateral discovery, Relator

believes the discovery process ought to begin as soon as possible. Relator also understands the

Court’s policy is that the parties should “conduct substantial discovery before the Rule 16

conference.” U.S. District Judge John Milton Younge, Policies and Procedures: General Matters,

Civil Cases, and Criminal Cases at 9. Therefore, if the Court grants Defendant’s motion, Relator

respectfully requests that the Court enter an order setting the Rule 16 conference and directing the

parties to commence discovery immediately and to “conduct substantial discovery before the Rule

16 conference.” Id.

Dated: October 20, 2022                        /s/ W. Scott Simmer______
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                            CERTIFICATE OF SERVICE

       I certify that on October 20, 2022, this document was filed electronically, that it is

available for viewing and downloading from the ECF system, and that all counsel of record

will be served by the ECF system.



                                                /s/ W. Scott Simmer




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